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               : : l'i:IE l JNITED STATES DISTRICT COURT
                                                                                    NOV O8 2023
              FOR TIIE NORTHERN DISTRICT OF GEORGIA
                                                                                KEVIN P. WEIMER, Clerk

                                                ATLANTA DIVISION               ~ ~Clerk



DONNA CURLING et al..

          Plaintiffs.

 v.                                                             CIVIL ACTION NO.
                                                                 1: 17-cv-2989-AT
BRAD RAFFENSPERGER. et al..

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                                                -MOTION TO INTERVENE

Not being an attorney, proposed Plaintiff-Intervenor apologizes for
any form deficienciesln.this filing,. In an attempt to preserve a
personal right to cast a meaningful ballot, as well as preserve the
same right for those similarly situated, now comes the proposed
Plaintiff-Intervenor and states the following:

A_ Proposed Plaintiff-Intervenor Should Be Granted Intervention as a
Matter of Right. (a) Intervention of right. Upon timely application
anyone shall be permitted to intervene in an action: ( 1) When a
statute confers an unconditional right to intervene; or (2) When the
applicant claims an interest relating to the property or transaction
which is the subject matter of the action and he is so situated that the
disposition of the action may as a practical matter impair or impede
his ability to protect that interest, unless the applicant's interest is
adequately represented by existing parties. a party is allowed to
intervene as a matter of right if it can be shown that: (1) the
application for intervention is timely; (2) the applicant claim~ an
interest that is a subject of the action; (3) the disposition of the action
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may impair the applicant's ability to protect that interest; and (4) the
interest may not be adequately represented by existing parties.
Proposed intervenor has studied the election process from 2020 until
current in depth . Dissallowing intervention would prevent proposed
intervenor from protecting their right to vote. Proposed Plaintiff-
Intervenor satisfies each of these requirements .

B. 1. This motion is timely. A motion to intervene is considered timely
"unless it would work a hardship on one of the original parties." The
timeliness requirement is liberally construed. This action has been
pending for years and is yet in a state of incompleteness considering
the October 2020 ruling. Granting intervention to Proposed Plaintiff-
Intervenor would not work a hardship on the original parties. This
motion is timely.
    2. Proposed Plaintiff-Intervenor has an interest that is a subject of
this action: the full and continued implementation and enforcement of
state and federal laws and rights regarding the right to cast a
meaningful ballot.
     3. Disposition of this action will impair Proposed Plaintiff
Intervenor's ability to protect their interests. Proposed Plaintiff-
lntervenors also meet the requirement, for intervention as a matter of
right, that the disposition of the action may as a practical matter
impair or impede his ability to protect that interest.
      4. Proposed Plaintiff-Intervenor's interests are not adequately
represented by plaintiffs who have not familiarized with the risks that
would prevent the right to cast a meaningful ballot by the utilization of
Dominion lmagecast equipment and system.

C.. Proposed Plaintiff Intervenor Also Meets the Requirements for
Permissive Intervention. Permissive intervention should be granted if:
(1) the motion to intervene is timely; (2) the intervenor's claim or
defense has a question of law or fact in common with the main
action; and (3) the intervention will not cause undue delay or
prejudice. Proposed Plaintiff-lntervenors have satisfied these
requirements.
          1. The motion to intervene is timely.
          2. Proposed Plaintiff-lntervenors' claim has a question of
law or fact in common with the main action .
          3. The motion to intervene will not cause undue delay or
prejudice.
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For the reasons set forth above, Proposed Plaintiff-Intervenor
respectfully requests that this Court grant their motion to intervene in
this action.
 DATED this-z, day of (\ ~Ar-:< , ___




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      Case 1:17-cv-02989-AT Document 1706 Filed 11/08/23 Page 5 of 22



              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA

                          ATLANTA DIVISION

DONNA CURLING et al.,

          Plaintiffs~

 v.                                           CIVIL ACTION NO.
                                               1:l 7-cv-2989-AT
BRAD RAFFENSPERGER, et al..

           u ~rendants.




           BRIEF IN SUPPORT OF MOTION TO INTERVENE


A previous ruling in this case, after a thorough evaluation, found
that Dominion Voting System currently in use violates two Georgia
statutes. It is settled law that one can not make a contract to act
illegally. The Dominion contract contained a requirement for
compliance with law, but having been found in violation of laws,
the Dominion contract is moot and unenforceable. The only reason
an injunction prohibiting the use of Dominion prior to the 2020
election was not granted was stated to be the nearness of election.

The Court has ruled: "Risks are posed both by a sudden shift to a
statewide hand-marked paper system and proceeding with the
BMD system. Ultimately, the Court must find that imposition of
such a sweeping change in the State's primary legally adopted
method for conducting elections at this moment in the electoral
cycle would fly in the face of binding appellate authority and the
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State's strong interest in ensuring an orderly and manageable
admmistration of the current election, consistent with state law.
So, for this reason alone, despite the strength of the Plaintiffs
evidence, the Court must decline the Plaintiffs' Motions for
Preliminary Injunction. 11 As we are not now on the cusp of an
election so near, with the lone reason for not granting injunctive
relief in 2020 removed, there is no longer any impediment to
granting the relief intervenor seeks.

Georgia law requires emergency paper ballots be available for use
in an emergency. The quantity of such ballots would only need to
be increased for use and spoilage with arrangements made for
counting, possibly a second poll shift of trained volunteers to
replace tired pollworkers for the counting. O.C.G.A. 21-2-437
details the procedure for counting hand marked ballots at the
precinct. There are on-demand printers that are capable of printing
ballots to be hand marked at the precinct mimicing the ballot a
voter would receive by using the voter card in the Dominion
system. Such printers were recently mentioned in State Election
Board complaints as being available.

When I early voted Oct. 14, 2020, the long line was explained as
being due to an earlier bandwidth problem. I do not know if the
bandwidth problem was due to internet connectivity or perhaps
unauthorized access in the system. I filed a complaint to question
the problem Nov. 11, 2020, and as of this time have had no
response. The Dominion contract with Georgia, page 98, [Exhibit
A] required $1.5 million cyber insurance per cyber incident. I
recently made an open records request for the records of such
cyber incidents and was advised they do not maintain a record of
such incidents. With the Dominion contract requiring cyber
insurance, internet connectivity has to be presumed.

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Expert Philip Stark, a former member of the Election Assistance
Commission, has sued the EAC for meeting with election
equipment manufacturers and secretly granting permission for
internet connectivity. Philip B. Stark and Free Speech For the
People v. United States Election Assistance Commission, United
States District Court for the District of Columbia.

In the 2022 primary when I worked the scanner while working a
poll, almost every voter complained about having to vote on the
current system. As a pollworker I was not allowed to engage with
voters but took note of their statements. Using the current system
is tantamount to electronic vote harvesting and can result in voters
not knowing how their right to vote is executed beyond their own
hands. Using a system which discourages voting is a form of voter
suppression as voting in the current system is little more than
letting a vote be carried by the wind however it may land.

Any audit utilizing the printed ballots associated with the current
Dominion system would depend on all voters verifying the printed
ballot properly records their vote. While there are signs posted in
the poll area and poll workers sporadically remind voters to check
their ballots, in my observance in poll watching and poll working
the reality is that most voters do not check their printed ballot,
rendering the printed ballots more a ruse than a legitimate paper
traiL As voters can not read the QR code in which the vote is
imbedded for tabulation and thus on which elections are decided
and the great difficulty questioning elections has presented, being
able to verify the vote by the voter is mandatory and
unquestionable.



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I have trained as a poll worker and poll watcher. I worked the
primary May 24, 2022 and watched several polls in the advance
voting, general election, and runoff. I have studied Dominion,
attended events for information and familiarized myself with
election law and cases. I normally attend my county Board of
Elections meetings, attend what I can online and have attended
court hearings. I have attended logic and accuracy testing as well
as monitored audits. I have queried my county election staff to
their aggravation. When the poll closed in the general election in
2022 I continued to observe the poll closing and followed the
ballots from my personal precinct to the central office.

Secretary Raffensperger knew of the ruling issued by the court in
this case and the Halderman Report since 2020. In the intervening
time he has done nothing to address the deficiencies named in
either. In fact mitigation is reported to be impossible on this
system pursuant to the Halderman Report. Another ruling in this
case dated September 17, 2018, details the problems and expert
evaluations as well as a history of the vulnerabilities presented by
this system. Two years before 2020 and three years after 2020 is
plenty of time for election problems to have been resolved
somehow if in fact trustworthy elections is the goal. The fact that
elections problems have not been resolved amplifies the the need
for the Court to act to grant requested relief.

Whenever I worked and watched polls I was always in awe of
those who came at great personal trouble often physically assisted
often using medical devices and even oxygen to cast their vote.
Those who would diminish these or any votes by cast or count
have earned my greatest disdain.


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In trying to figure the best way to vote in 2022, I did have to run a
gauntlet. There were risks with each choice and at various points
in each choice. I thought the best way to vote was to vote absentee,
but that would not address fraudulent votes or adjudication.

Having made a good study of the current voting landscape and
believing that I have as much duty as anyone else to protect my
own vote as best I can, it is now unlikely that any voter can rely on
casting and having their vote counted properly in the current
system. Therefore, I am no longer able to cast a viable, secure vote
in the current system.

Georgia law, O.C.GA. 21-2-379.22 (8), requires that for a bmd to
be used in an election, it must correctly and accurately mark every
vote cast. The previous ruling that a voter is unable to read the QR
code in which the vote to be counted is embedded prevents a voter
from being able to determine that the bmd has acccurately recorded
the vote to be counted. Once scanned no link to the voter removes
any means of verifying the accuracy.
Only lawful, registered voters are allowed to cast a lawful vote.
Any means by which votes are manipulated by the system, not the
least of which in Dominion is adjudication, allows the system to
vote and the system is not a lawfully registered voter. While I hate
not to vote or advise others of the existing voting minefield, the
Dominion system as well as no response to complaints and
dismissal of questioning lawsuits renders it my duty.




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The right to vote is the fundamental right upon which the republic
rests. Duncan v. Poythress, 515 F Supp. (N.D. Ga. 1981) April 28,
1981, "No right is more precious in a free country than that of
having a voice in the election of those who make the laws under
which, as good citizens, we must live. Other rights, even the most
basic are illusory if the right to vote is undermined." "The right to
vote freely for the candidate of one's choice is of the essence of a
democratic society, and any restrictions on that right strike at the
heart of representative government. ... " Reynolds v. Sims ( 1964)
377 us 533.

''Undeniably the Constitution of the United States protects the right
of all qualified citizens to vote, in state as well as in federal
elections." Reynolds v. Sims, supra. Qualified citizens not only
have a constitutionally protected right to vote, Exparte Yarbrough,
110 U.S. 651, 45 S. Ct. 152 (1884), but also the right to have their
votes counted, United States v. Mosley, 238 U.S. 383, 35 S.Ct.
904, a right which can neither be denied outright, Lane v. Wilson
307 U.S. 268, nor destroyed by alteration of ballots, United States
v. Classic, 313 U.S. 299 61 S.Ct. 1031, (1941) nor destroyed by
ballot box stuffing, United States v. Saylor, 322 U.S. 385, 64 S. Ct.
 1101. ( 1944 ). The reason for such constitutional protection is
clear."




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Presuming the requirement for cyber insurance in the Dominion
contract indicates possible internet access, and the fact that the
Halderman Report advises patches will not secure the Dominion
system, the result is the deprivation of the most basic rights of
Georgia citizens. Given the time in which action could have been
taken to restore a fair election process and the fact that security
patches which will not secure the system, Georgians can glean that
the result is not elections that comply with law while preserving
the rights of the citizenry.

 As the system patches will not secure the system and that citizens
. of Georgia would still be subject to the violations of Georgia code
  previously noted, I seek injunctive relief to prohibit the use of
  Dominion ICX BMD and related software and equipment in any
  county in Georgia. Emergency paper ballots following the
  counting procedure at the precincts is the most cost e:ffective
  solution to the current violative system. Therefore, the above is my
  prayer and request for relief. Though we are not as close to an
  election as in 2020, time is of the essence in granting the requested
  relief for appropriate preparation.

Dated   . _ _____,..~ ~aav of ·~ ~ 2 3
Re

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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

                          ATLANTA DIVISION

DONNA CURLING et al..

           Plaintiffs.

 V.                                              CIVIL ACTION NO.
                                                  i :l 7-cv-2989-AT
BRAD RAFFENSPERGER. et al..

           Defendants.




                              Certificate of Service

.i certify that on November 2, 2023, a copy of the foregoing was mailed by
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terminated parties as included in PACER as contained in the attached.
Parties not specifying an attorney but an address were mailed to the address
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 was unclear o o address was listed.
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                         Case 1:17-cv-02989-AT Document 1706 Filed 11/08/23 Page 21 of 22

VI. NATURE OF SUIT (IIUCE.AN•JrINONEBOXONl!.Y)
CONTRACT · -o• MONTHS lliSCO\IERY TRACK.                Cl IL RIGIITTS - •4 . MONTHS DISCO ERYTRACK.                 SOCJ,\.L SECURlt1Y - '"Cl' 10NlliS DISCO ER:
   0 150 RECOVERY OF OVERPAYMENT ll                                   GJHERCIVIL RJQl'IS                             TRACK
          ENRlRCEJdEl'ff Of' JUDGMENT                             441 vaTlNG                                                 tllil.HfA(lfflft)
   □ LSZ RECOVERY OFDliFAUl!.TEO SIWENT                           442 D:ll'WYMEJ'<l                                          862BL\CXUJNG l923}
              LOANS (Ero.   ttemisl                               4,U HOUSINCI ACCOMMODATIONS                                863 DIWC (403:rg)
      □ 153 RECOVERY OFO\IERPAYMFNr OF                            4-tS AMERICANS wtth lll.SAIIIUTillS- Emt>Jio)_,.           8-fil MI/W (tQi3; )
                                                                                                                             864 ~ TllUlXVl
              VEIERANS BENEmS

CONTRACT . •4• MONTHS DJSCO ERY TRACK
                                                                  446 AMERICANS with lllSABIIJTJES- Other
                                                                  4'111EDUCA'lIDN                                       8    86SRS(~)

          I 1.0 INSURANCE                                                                                            li'IIDERAL TAX SUITS · •4• MONfflS DlS.COVERY
          l l0MAR!Nll                                   IMM[GRATTON - '"Cl• MONTHS DlSCOVERYTRACK                    TRACK
                                                                                                                     -i:f"
          130 MlllER ACT
          1.40 NECOU"2Ui IJIISTRI.IMENT
          ISi MEDICARE ACT
                                                            B     462 NAYIJRAUZATLON APPUCAllOO
                                                                  46S OIIIER IMMICRATIOlll ACTIONS                      □
                                                                                                                              ll'lQ TAXES (US. Ptainlilf'a, lleftndw)
                                                                                                                             Sll. lRS - TIURD PARTY26 USC '1611!1

          100 STOCIOIOLOERS' SUfl'S                     PRISONER PETIT10NS - -o• MONTHS OlSC0\11:lRY                 O'IHER STATIJTES - •4• MONTHS DJSOO ERY
          l!!OOTHER CONTRACT
          I 95 CONTRACT PROOUCr LlAfllUTY               TRACK 463 HAilEASOJRPUS. Alien o.trioe,o
                                                                                                                     TRACK ;!:=~~~W


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          l96FRANOIJSE:                                           '1:I0MOilONSTO ACATE.SENTENCll
                                                                  530 HAIIEASCORPOS                                          400 SfATE REAPPORlXIMllllNT
REAL PROPERlY • •4• MONTHS DISCOVERY                              S:li HAllEASCORl'OS DEAfflPENALTY                          430 BANltSAND 8ANl<lNC
TRACK                                                             S40M'ANDAMUS &OTHER                                        olSQ CX!M).:ll!RCEIICC 11A Tf&1i'[C.
-     i   2/0u\NDCONOEM        DON                                S500Vll.RK'JITS - E'IWl'ro""                               4611 DEPORT>\TIQil
          220 FORECLOSURll                                        535 l!RJSON <XllNDl1TON(S) - Fll<'d Pro""                  4:10 RACl(En:ER IN.Fl.UllNCEO AND CORRUPT
          230 RENT" U!ASll & E;JEC'NENT                           560 CIVll. DEfAINEE: CONl!llD:lNS Of•                             ORCANIZATIQNS
          240 TOR'[S TO l.AKD                                        CONR.'IJEMENT'                                          <l8iO·CONSUMERCREJllT




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          2-ISTOIITf'ROOUCT UMIIUTY                                                                                          4IS TELEP!·      CO       Elt PROTECnON CT
          290 All. OTHER REAL PROeERrY                  PRISONER l'BlTilONIS - •4• MONTHS DJSCOVERY                          4110CABl'..FJSATEllilll TV
                                                        TRACK                                                                S!ll),CffiiERSTATIJIORY ACUONS
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msco ERYTRACK                                               0 m l'RISON CONlllTIONl,S) - J:lf<d lryc.-.1                     ffi EN\IIRONMENTALIIIATIERS
          ll0All!PUINE                                                                                                       895 FREl:illOMOf' INfORMAUON ACf &9ll
          315 AIRPLANl!PROOUCT UAfllUlY                 FORFEJTIJIIBIPliNALTY - •4• MONllilSDJSOO ERY                   □    ffl lli\flNlSTRATIVE l'ROClillURES ACf I
          320 ASSMJLT, LIBEL & SLANDER                  TRACK
          3301!EDERAL EMPLOYERS'LJAJllllT,Y             - 0 623 DRUG RELATEDSEJZl'.lRE:Of PROl'ERTY                     CJ -~~~~~~~~ii~ES
        l401\IAR!Nll                                                  l l USC811l
        MS MARI      PRODUCT Ui\RIUTY
        3501\laIOR.VEHD.ll                                  □     -~                                                 OnIBR STATIJmS - •a• MONTHS l!)JSOOVERY
                                                                                                                     TRACK
        355 MOTOR VEHlO.£ PRODUCL' UABJUIY              LABOR - •4• MONTHSDISCO\IERYTRACK

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        361!0Il!ER PERSONALINJVRY                                                                                            4lQANiffRIJSl•
        362 l'fJISONALIN]URY - MEDICAL                                                                                       8S<ISECl.!l!ll!ES I COMMOOffl.ES l llXCIIANGE
            MAlll'RACJICE                                         740 RAJ);  A u\BOR ACT
      □ 36:5.PE:RSO!W. IN]URY - PROIXICH.lAIDUIY                  'ISi l'AMILY..t M.EDICALl.EAVllACI'                OTHER.STAlUl'ES · •o• MONTHSDlSCO lll:RY
      □ 361 PllRSONALIN]URY - HEALTH CA                           'l90 OTHER LABOR ll1lCATIClN                       TRACK
      0
              PHARMACEUTTCALPROOUCl'UABIUTY
        lGtlASllESTOS PERSONALOUURYPRODUC'f
                                                                  191 EMPL REI'. INC. SECllRITY ACT                  --a-    896 ARBITRATION
                                                                                                                                  ~        l ¼<ate l Ordotl Modi~
              UABIUIY                                   PROPERTY RJGHTS - •4• MONTHS DISCOVERY
                                                        TRACK
                     AL PROPERTY· •,t• MONTIIS          - 0 112!1COl'~TS
                                                            D IMOYRAD&IARK                                           * Pll..EASE NOTE DISCOVERY
              OUIERfRAUO                                    0 UIIDEffNOTl!iADE OCRElS CTOF3016(00SA.}                  TRACK.FOR EACH CASE
          371 nruIH lN LENlllNG
          3800DIER l'EllSQNM_PROfERIY IJA}f.>.GE                                                                       TYPE~SEE LOCAL RULE 26.3
                                                        PROPERTY RIGHTS - •ir MONTHS DJSCOVERY
          385 PROPERTY DAMAGE PRODUCT I.JAfllUIY        i'RAcR'
BANKRUPfCY - -o• MONfflS DISCO llRYTRACK                -U 83Q l'ATENT
          422 AP!i'EAL 2ll USC 153
                                                            0     &lSPA'lllNT RBRIMATIDN:WDROO

      8   423 WffilllRAWAL 211 USC 157                               APPllC\110 (AND I · -·
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vn. REQUESTED IN COMPLAINT; 1~' \ vt 1,\(-t A/~ v-e )i~f
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J UR\I DEMAND □ YFS              DI NO (CHECK YESONLYIFl!lEM!\NDEDINCOMl'LAlN'JI)

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CIV]L CASES ARE D.EEMED                     TD}; IFTIIB PENDING CASE INVOLVES; (.CEIECK.Al'PROl'RL\TBB.OXl
      0 L. PROPER'.FY INCUJllllD IN AN EARLJIER.NltlMBEREli) PENDING SUJrF.
      □   a. SAME ISSl!JE OF FACT O.R ARISES OUT OF nm SAME EVENT OR 'IRANSAC'FION [NCUIJlED IN AN EARLIER. N1!1MBERED J.>ENl!lINCSl!IJrl'.
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      0 4:. APPRAl.SARLSINC OUT Oli' THE SAME BANKRUP'[CY CASE ANIII, ANY CASE REl.ATim 11:IERE]'O WHICH HA: E BEEN D.ECJ.J!lEl!l 8.Y DIE SAME
            BANKR1!1P'JCY JUDGB.
      0 $. REl'ETmVE CASES FILED 8:Y PRO SE UTICANTS:.
      0&, COMl'ANION ORRELA.TBl!),CASE TOCASE(SliBEINCSIMULTANEOtm.YFll.El!l(INCLUD ABJlRIDIJATBl!),Sll'Yl.ElilFOTIIER.CASE(S)},


      0 71. El!IllERSAME OR AU.OFTIIBPAR'HES ANJ!USSl!IES IN'llllSCASEWERE PRE'\IIO,USLY IN\IQL\IED lNI CASE NO.                                               , WlilCHIWAS
      -      lilISMJSS.FJ!>_ Tlilscase □ LS   CIJS OT(chedlcm.e:box)SllJBSTANITA.U.YTIIESAMECASB..




    SIGNN
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                                                              Deborah J.
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                                                          Canton, GA 30
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